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                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA

                                                CRIMINAL MINUTES -ARRAIGNMENT
 Case Number: 2:20-CR-00060-JLS                                Recorder: CS 02/24/2020                               Date: 02/24/2020

 Present: The Honorable Autumn D. Spaeth, U.S. Magistrate Judge

Court Clerk: Kristee Hopkins                                                 Assistant U.S. Attorney: Hazel Verdin, Certified Law Student and
                                                                             Rosalind Wang

 United States of America v.                   Attorney Present for Defendants)                   Language                  ,Interpreter            'I
 STEPHEN WILLIAM BEAL                          Amy Karlin DFPD
      Custody                                 (      Appointed



PROCEEDINGS: ARRAIGNMENT OF DEFENDANTS)AND ASSIGNMENT OF CASE AND INITIAL APPEARANCEAND
APPOINTMENT OF COUNSEL HEARING.

Defendant is arraigned and states true name is as charged.

Defendant is given a copy of the Indictment.

Defendant acknowledges receipt of a copy and waives reading thereof.

The Court appoints Amy Karlin, DFPD, as counsel for all further proceedings for defendant.

Financial affidavit is submitted and filed.

Defendant's first appearance.
Government moves for Permanent Detention of the defendant. Court grants the Government's request and orders the defendant permanently detained.

Defendant pleads not guilty to all counts in the Indictment.

This case is assigned to the calendar of District Judge Josephine L. Staton.
[t is ordered that the following dates) and times) are set:
         Jury Trial 4/21/2020 at 9:00 AM
         Status Conference 4/10/2020 at 8:30 AM
         Defendant and counsel are~ordered to appear before said judge at the time and date indicated.

        Trial estimate: 5 days.




                                                                                                    First Appearance/Appointment of Counsel: 00:02
                                                                                                                                         PIA: 00:02
                                                                                                                         Initials of Deputy Clerk:~~
cc: Statistics Clerk, PSALA USMSA




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